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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §   Case No. SA-24-CR-522-DAE
                                                  §
 JOSE DAVID MOYA-MOYA                             §
                                                  §


          UNITED STATES OF AMERICA’S RESPONSE IN OPPOSITION TO
                     DEFENDANT’S MOTION TO DISMISS

       Defendant Jose David Moya-Moya has moved to dismiss Count Two of the indictment,

charging him with possessing a firearm as an alien unlawfully in the United States. As Defendant

concedes, his claims are foreclosed by Fifth Circuit precedent. His motion should be denied.

                                        I. BACKGROUND

       San Antonio Police Department officers conducted a traffic stop on a car in which

Defendant was a passenger on September 14, 2024. SAPD recovered a pistol from Defendant’s

satchel during the stop. Defendant admitted he was delivering the gun to a criminal organization

for use in a robbery. Records checks revealed Defendant was a citizen of Venezuela who had

overstayed his parole into the United States and failed to report to immigration authorities.

       On September 18, 2024, U.S. Magistrate Judge Henry J. Bemporad signed a criminal

complaint and federal warrant for Defendant’s arrest based on the offense of being an alien in

unlawful possession of a firearm, pursuant to 18 U.S.C. Section 922(g)(5). Dkt. No. 1. Defendant

entered federal custody the same day. A federal grand jury indicted Defendant on October 16,

2024, charging him with one count of firearm trafficking and one count of being an alien in

possession of a firearm. Dkt. No. 14.




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       On May 20, 2025, Defendant moved to dismiss the second count of the indictment. Dkt.

No. 32. He argues that 18 U.S.C. Section 922(g)(5) is unconstitutional under the Second

Amendment, both facially and as applied to him. Alternatively, he argues that the statute exceeds

congressional authority under the Commerce Clause of the Constitution.

                                          II. ANALYSIS

       A. Defendant’s Second Amendment claim is foreclosed by Fifth Circuit precedent.

       Defendant’s Second Amendment challenge to Section 922(g)(5) is foreclosed by Fifth

Circuit precedent. Prior to the Supreme Court’s decision in New York State Rifle & Pistol

Association v. Bruen decision, the Fifth Circuit held that “the phrase ‘the people’ in the Second

Amendment . . . does not include aliens illegally in the United States.” United States v. Portillo-

Muñoz, 643 F.3d 437, 442 (5th Cir. 2011). Accordingly, the Fifth Circuit upheld Section 922(g)(5)

as constitutional under the Second Amendment. Id. More recently, in United States v. Medina-

Cantu, the Fifth Circuit iterated that the Bruen opinion did not abrogate this holding. 113 F.4th

537, 542 (5th Cir. 2024). It maintained that Section 922(g)(5) is still constitutional under the

Second Amendment. See id. The Government respectfully asks this Court to hold likewise.

       B. Defendant’s commerce clause claim is foreclosed by Fifth Circuit precedent.

       Defendant’s commerce clause challenge is also foreclosed by Fifth Circuit precedent. The

Fifth Circuit has recognized, in the felon-in-possession context, that Section 922(g)(1) is a valid

exercise of congressional authority under the commerce clause. See United States v. Alcantar, 733

F.3d 143,145 (5th Cir. 2013). Under the Fifth Circuit’s “rule of orderliness, only an intervening

change in the law (such as by a Supreme Court case) permits a subsequent panel to decline to

follow a prior Fifth Circuit precedent.” Id. at 146. There is nothing in the Bruen decision that could

be construed as changing this—that decision had nothing to do with the commerce power of



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Congress. Precedent forecloses Defendant’s commerce clause argument. See United States v.

Perryman, 965 F3d 424, 426 (5th Cir. 2020).

                                       III. CONCLUSION

        Defendant concedes that his arguments are foreclosed by this circuit’s precedent. The

Government prays that this Court reject Defendant’s arguments and deny the motion.



                                                     Respectfully Submitted,

                                                     JUSTIN R. SIMMONS
                                                     United States Attorney

                                                                    /s/
                                                     WILLIAM F. CALVE
                                                     Assistant United States Attorney
                                                     Texas State Bar No. 24096505
                                                     601 NW Loop 410, Suite 600
                                                     San Antonio, Texas 78216
                                                     (210) 384-7132


                                CERTIFICATE OF SERVICE

       I hereby certify that on June 9, 2025, I filed a true and correct copy of the foregoing

instrument with the Clerk of the Court using the CM/ECF System, which will send notice of

electronic filing to counsel for the defense, Roland Garcia.




                                                         /s/
                                                         WILLIAM F. CALVE
                                                         Assistant United States Attorney




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                                           §



                                       ORDER

      On this date came to be considered Defendant’s Motion to Dismiss. After careful

consideration, the Court finds and ORDERS that Defendant’s Motion be DENIED.



      SIGNED this      day of __________, 2025




                                        _______________________________________
                                        HONORABLE DAVID ALAN EZRA
                                        SENIOR UNITED STATES DISTRICT JUDGE




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